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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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10         EL PAPEL LLC, et al.,
                                                              CASE NO. 2:20-cv-01323-RAJ-JRC
11                              Plaintiffs,
                                                              ORDER GRANTING MOTION TO
12               v.                                           AMEND COMPLAINT
13         JENNY A. DURKAN, et al.,

14                              Defendants.

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16            This matter is before the Court on plaintiffs’ motion to amend the complaint. Dkt. 64.

17   Plaintiffs request that if the District Court agree with the undersigned’s Report and

18   Recommendation to dismiss defendant Jay Inslee as a defendant, plaintiffs be allowed to amend

19   their complaint to add Washington Attorney General Robert Ferguson as defendant. Dkt. 64, at

20   2. Defendants have consented to the motion to amend. Dkt. 64, at 1. And the District Court has

21   now adopted the Report and Recommendation. Dkt. 78.

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     ORDER GRANTING MOTION TO AMEND
     COMPLAINT - 1
            Case 2:20-cv-01323-RAJ-JRC Document 79 Filed 01/12/21 Page 2 of 2




 1          Therefore, and pursuant to Fed. R. Civ. P. 15(a)(2), the Court grants the motion to amend

 2   the complaint. Plaintiffs shall file a clean copy of the First Amended Complaint, which shall be

 3   the operative complaint in this matter, and the Clerk’s Office will update the docket accordingly.

 4          Dated this 12th day of January, 2021.

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 7                                                        A
                                                          J. Richard Creatura
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                                                          United States Magistrate Judge
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     ORDER GRANTING MOTION TO AMEND
     COMPLAINT - 2
